       Case 2:13-cv-20000-RDP Document 2898 Filed 02/11/22 Page 1 of 3                              FILED
                                                                                           2022 Feb-11 PM 02:06
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION
___________________________________
                                    )
IN RE: BLUE CROSS BLUE SHIELD )        Master File No. 2:13-CV-2000-RDP
ANTITRUST LITIGATION                )
MDL NO. 2406                        )  This document relates to all cases.
____________________________________)

                              MOTION TO WITHDRAW

      The following Lightfoot Franklin & White, LLC counsel move this Court to allow them to

withdraw as counsel of record for Blue Cross Blue Shield of Arizona (“BCBS-AZ”) in the

referenced MDL:

      John M. Johnson (ASB-7318-O52J)
      Brian P. Kappel (ASB-1831-B44K)
      LIGHTFOOT FRANKLIN & WHITE LLC
      400 20th Street North
      Birmingham, AL 35203
      Telephone: (205) 581-0700
      Fax: (205) 581-0799
      jjohnson@lightfootlaw.com
      bkappel@lightfootlaw.com

 This motion to withdraw also applies to the following underlying actions:

      •       Conway, et al. v. Blue Cross and Blue Shield of Alabama, et al., 2:12-cv-02532

      •       Conway, et al. v. Blue Cross Blue Shield of Alabama, et al., 2:15-cv-1345

      •       Conway, et al. v. Blue Cross Blue Shield of Alabama, et al., 2:15-cv-1346

      •       Conway, et al. v. Blue Cross Blue Shield of Alabama, et al., 2:15-cv-1347

      •       Conway, et al. v. Blue Cross Blue Shield of Alabama, et al., 2:15-cv-1348

      •       Conway, et al. v. Blue Cross Blue Shield of Alabama, et al., 2:15-cv-1349

      •       Conway, et al. v. Blue Cross Blue Shield of Alabama, et al., 2:15-cv-1475

      •       Hosp. Serv. Dist. 1 of the Parish of E. Baton Rouge, La. d/b/a Lane Reg’l Med.
              Ctr. v. Blue Cross and Blue Shield of Alabama, et al., 2:15-cv-1476
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      •      Conway, et al. v. Blue Cross Blue Shield of Alabama, et al., 2:15-cv-1550

      •      Conway, et al. v. Blue Cross and Blue Shield of Alabama, et al., 2:15-cv-2295

      •      Quality Dialysis One, L.L.C., f/k/a Quality Dialysis One, L.P., et al. v. Blue Cross
             and Blue Shield of Alabama, et al., 2:15-cv-2296

      •      Richmond SA Services, Inc. v. Blue Cross and Blue Shield of Alabama, et al.,
             2:16-cv-0774

      •      Am. Surgical Assistants, Inc., et al. v. Blue Cross and Blue Shield of Alabama, et
             al., 2:16-cv-0775

      •      Caldwell v. Blue Cross and Blue Shield of Alabama, et al., 2:19-cv-00565

      •      Reyes v. Blue Cross and Blue Shield of Alabama, et al., 2:21-cv-1235

Counsel from Cravath, Swaine & Moore, LLP have filed appearances for, and will continue to

represent, BCBS-AZ.



Dated: February 11, 2022.                  Respectfully submitted,


                                           /s/ Brian P. Kappel_________________
                                           John M. Johnson (ASB-7318-O52J)
                                           Brian P. Kappel (ASB-1831-B44K)
                                           LIGHTFOOT FRANKLIN & WHITE LLC
                                           400 20th Street North
                                           Birmingham, AL 35203
                                           Telephone: (205) 581-0716
                                           Fax: (205) 380-9116
                                           jjohnson@lightfootlaw.com
                                           bkappel@lightfootlaw.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 11, 2022, the foregoing was electronically filed with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.


                                             Respectfully submitted,



                                             /s/ Brian P. Kappel_________________
                                             Brian P. Kappel (ASB-1831-B44K)
